               Case 2:17-bk-57061                     Doc 4          Filed 11/03/17 Entered 11/03/17 12:38:17            Desc Main
                                                                     Document      Page 1 of 3

 Fill in this information to identify your case:

 Debtor 1                 William E Williams
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         American Builders & Contractors                      Surrender the property.                     No
    name:              Supply C                                             Retain the property and redeem it.
                                                                                                                        Yes
                                                                            Retain the property and enter into a
    Description of 10141 Tollgate Road Pataskala,                           Reaffirmation Agreement.
    property       OH 43062 Licking County                                  Retain the property and [explain]:
    securing debt: Debtor's Residence                                     avoid lien using 11 U.S.C. § 522(f)


    Creditor's         Fabuwood Cabinetry Corp                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 10141 Tollgate Road Pataskala,                           Reaffirmation Agreement.
    property       OH 43062 Licking County                                  Retain the property and [explain]:
    securing debt: Debtor's Residence                                     avoid lien using 11 U.S.C. § 522(f)


    Creditor's         Huntington Mortgage                                  Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       10141 Tollgate Road Pataskala,                     Reaffirmation Agreement.
                         OH 43062 Licking County

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 2:17-bk-57061                        Doc 4          Filed 11/03/17 Entered 11/03/17 12:38:17                            Desc Main
                                                                     Document      Page 2 of 3

 Debtor 1      William E Williams                                                                     Case number (if known)


    property            Debtor's Residence                                  Retain the property and [explain]:
    securing debt:



    Creditor's     Kemba Financial Credit Union                             Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 2016 GMC Yukon 11,000+ miles                             Reaffirmation Agreement.
    property       Location: 10141 Tollgate Road,                           Retain the property and [explain]:
    securing debt: Pataskala OH 43062



    Creditor's     Kemba Financial Credit Union                             Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 2010 Lincoln MKT 170,000+                                Reaffirmation Agreement.
    property       miles                                                    Retain the property and [explain]:
    securing debt: Location: 10141 Tollgate Road,
                   Pataskala OH 43062


    Creditor's     Telhio Credit Union                                      Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of Mustang 1966 Ford 17,400+                                Reaffirmation Agreement.
    property       miles                                                    Retain the property and [explain]:
    securing debt: Location: 10141 Tollgate Road,
                   Pataskala OH 43062


    Creditor's     Willoughby Supply Company Inc.                           Surrender the property.                                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
    Description of 10141 Tollgate Road Pataskala,                           Reaffirmation Agreement.
    property       OH 43062 Licking County                                  Retain the property and [explain]:
    securing debt: Debtor's Residence                                     avoid lien using 11 U.S.C. § 522(f)

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 2:17-bk-57061                        Doc 4          Filed 11/03/17 Entered 11/03/17 12:38:17                       Desc Main
                                                                     Document      Page 3 of 3

 Debtor 1      William E Williams                                                                    Case number (if known)


 Description of leased                                                                                                        No
 Property:
                                                                                                                              Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Lessor's name:                                                                                                               No
 Description of leased
 Property:                                                                                                                    Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ William E Williams                                                       X
       William E Williams                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        November 3, 2017                                                 Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 3

Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
